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 1   JEREMY D. WARREN
     State Bar No. 177900
 2   Warren & Burstein
 3
     501 West Broadway, Suite 240
     San Diego, CA 92101
 4   (619) 234-4433
 5
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 6
 7                            UNITED STATES DISTRICT COURT
 8                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                       Case No.: 23cr1700-AHG

11               Plaintiff,
                                                     Defendant’s sentencing
12                                                   memorandum
           v.
13                                                   October 19, 2023, 10:00 a.m.
14   TIEN VO,

15               Defendant.
16
17
18                                    Introduction

19        Dr. Tien Vo is a Vietnamese-American citizen who exemplifies the American
20
     Dream. He came to the United Sates with his family as a teenager. He graduated
21
22   from medical school and established a successful practice in the Imperial Valley,

23   where he provides medical services to impoverished patients primarily of Mexican
24
     descent. One hundred and thirty employees rely on Dr. Vo for their jobs.
25
26        Several years ago, Dr. Vo began providing cosmetic services to a small subset

27   of his patients. Around that time, a Mexicali spa owner, Flor Cham, offered low-
28
                                                1
                               DEFENDANT’S SENTENCING MEMORANDUM
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 1   cost Xeomin (a Mexican equivalent to Botox) and foreign lip-filler to Dr. Vo, which

 2   allowed him to charge lower prices to his patients. In 2018, when Cham was caught
 3
     importing these cosmetics into Calexico, the government opened an investigation,
 4
 5
     leading to this prosecution.

 6         Dr. Vo and the government have worked extensively to settle the
 7
     investigation. He pleaded guilty, pre-indictment, to two misdemeanors, and the
 8
 9
     parties are jointly recommending three years of probation, financial penalties

10   exceeding $300,000, and 100 hours of community service, but neither believe
11
     electronic monitoring is necessary or appropriate.
12
                   The individual before the Court, and the offense
13
14         The PSR provides a good overview; Dr. Vo will highlight a few points.
15
           He was raised in poverty in rural Vietnam. As a child, he had to work to help
16
     the family survive. His mother died from kidney disease when he was ten.
17
18         A few years later, his family moved to California. He had to learn a new
19
     language and adapt to a new culture. He worked extremely hard in school, taking
20
     college classes while still in high school. After graduating from U.C. Riverside, he
21
22   completed medical school in the Dominican Republic and residencies in New York
23
     and Arizona. He then returned to California and started a practice in internal
24
     medicine. Meanwhile, he fell in love, and he and Venus have been married for nearly
25
26   twenty years. They had a son, Benjamin (14), and adopted their daughter Ivy (13).
27
28
                                                 2
                                DEFENDANT’S SENTENCING MEMORANDUM
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 1         When Dr. Vo wanted to establish a long-term practice, he learned the Imperial

 2   Valley had a real problem. Its population was poor and in poor health – obesity and
 3
     diabetes, for example, are off the charts. And doctors didn’t want to work there.
 4
 5
     The medical desert in the desert provided a win-win opportunity for him and for the

 6   community, so the Vo family packed its bags and moved to El Centro and has been
 7
     there ever since.
 8
 9
           Dr. Vo didn’t just move to the Valley; he

10   became fully integrated into the community.
11
     He sponsors baseball teams, leads food drives,
12
     provides free medical services to field workers,
13                                                             Dr. Vo with a team he sponsors

14   gives free medical examinations and vaccinations to students so they can enroll in
15
     school and participate in sports, volunteers at health fairs, and even makes house
16
     calls throughout the community.         His tireless dedication is captured in the
17
18   numerous attached letters of support.
19
           When Covid ravaged Imperial County, Dr. Vo became a force of nature. He
20
     set up testing and vaccination clinics at schools, senior centers, and homeless
21
22   shelters. He went to the border to test and vaccinate field workers. As Calexico’s
23
     (now-retired) Chief of Police notes, Dr. Vo “provided personal protective equipment
24
     to the police and fire departments when the California Office of Emergency Services
25
26   and FEMA’s shipments did not arrive on time.” Dr. Vo worked with the San Diego
27
     Regional Center to assist its developmentally disabled clientele. Its manager of
28
                                                  3
                                 DEFENDANT’S SENTENCING MEMORANDUM
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 1   client services, Joab Gonzalez, writes that “Dr. Vo quickly organized special clinics,

 2   and hundreds of individuals and their families got tested and or vaccinated to keep
 3
     them safe.” Sylvia Chavez, the Mayor pro tem of Calipatria praises Dr. Vo for
 4
 5
     creating a “Meals to Heals” program that delivered daily dinners to Covid families

 6                                                           seven days a week. Sonia Carter,
 7
                                                             a City Council member in El
 8
 9
                                                             Centro     succinctly   calls   him

10                                                           “Superman” and “a hero in my
11
                  Dr. Vo serving the homeless                eyes and the community.”
12
           While he has a deep belief in charity, Dr. Vo also has a strong entrepreneurial
13
14   spirit.   Over the years, his practice expanded as he brought on doctors, nurse
15
     practitioners and dozens of other employees. It was during this period of growth
16
     that he added a cosmetic practice. He took a cosmetic course in San Diego, and,
17
18   certificate in hand, began offering basic cosmetic treatments to his patients. As
19
     stated, a woman named Cham offered him a lower cost Mexican-branded form of
20
     Botox and a foreign lip-filler. Dr. Vo agreed, bought a small amount from her, and
21
22   then continued to buy a few boxes at a time from her when she would reach out to
23
     him, passing on the savings to his patients.
24
           Cosmetics was a tiny percentage of Dr. Vo’s practice, less than two percent of
25
26   the revenue. And during the pandemic it dried up nearly completely. Indeed, when
27
     an undercover agent sought a consult, Dr. Vo had trouble remembering the active
28
                                                     4
                                    DEFENDANT’S SENTENCING MEMORANDUM
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 1   ingredient of the Botox. 1 And when the agents searched his offices in October 2020,

 2   some of the cosmetics were so old they were beyond their expiration date.2
 3
           After the search, Dr. Vo retained counsel, and has been in discussions with
 4
 5
     the government ever since. He also made substantial changes to his practice, and

 6   has put in place numerous compliance procedures.           He also signed up for and
 7
     completed continuing medical education classes focused on ethics. And he has
 8
 9
     relinquished ownership of his practice.

10         The parties worked diligently to settle the investigation, ultimately agreeing
11
     on misdemeanors, probation, and a large financial penalty. One consideration was
12
     that Flor Cham, the actual smuggler who shopped the cosmetics to Dr. Vo – and who
13
14   was importing fake Viagra for her other customers, not Dr. Vo – is charged with a
15
     misdemeanor. Another is that in a recent case in Michigan, a doctor was ordering
16
     foreign Botox, administering it to patients, and billing Medicare for it, but the
17
18   government resolved the matter civilly, not criminally:
19
20
21   1 The active ingredient is botulinum toxin.Like Kleenex for tissue or Band-Aid for
22   adhesive bandages, everyone uses the term Botox generically, whether referring to
     the actual brand or to any other medication containing the same active ingredient.
23
     2 The search was publicized in the El Centro press. As the PSR documents, there
24
     were other allegations against Dr. Vo from his competitors. Dr. Vo’s expansion in
25   the Valley ruffled feathers among others whose practices were impacted.
26   Ultimately, the government executed a second search warrant apparently focusing
     on his billing practice. Of course, he was never charged with any billing-related
27   offense. And as the government will acknowledge, Dr. Vo never billed Medicare or
28   Medical for any cosmetics. The government does not pay for purely cosmetic
     procedures, and Dr. Vo never sought compensation for them.
                                                 5
                                DEFENDANT’S SENTENCING MEMORANDUM
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 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
           Pleading guilty to any crime was a devastating blow to Dr. Vo, particularly as
13
14   a well-known doctor with a large practice in a small community. On a personal
15   level, it is a humiliating reflection of his own personal failing, one he deeply regrets.
16
     And on a professional level, there are collateral consequences with the Medical
17
18   Board.
19         While the future is uncertain, Dr. Vo blames no one else. He wishes he could
20
     turn back time and make better decisions. Though of course he cannot, he is
21
22   extremely remorseful, and committed to avoiding any future violations.

23                        The Guidelines and sentencing issues
24
           The parties agree on the Guidelines calculations:
25
26               Base offense level :                                6
                 Loss greater than $40,000:                          +6
27               Multiple victims:                                   +2
28               Abuse of trust/special skill:                       +2
                                                  6
                                 DEFENDANT’S SENTENCING MEMORANDUM
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 1               Acceptance of responsibility:                       -3
                 Combination of circumstances departure:             -2
 2
 3
           Additionally, as the PSR notes and the government agrees, Dr. Vo is eligible

 4   for the new zero-point offender departure under § 4C1.1, for an additional two-level
 5
     downward adjustment.
 6
 7
           At an adjusted offense level of 9, the guidelines sentencing range is 4-10

 8   months. However, the government and Probation join Dr. Vo in recommending a
 9
     non-custodial sentence. As the Court knows, the Guidelines recommend a non-
10
     custodial sentence for nonviolent first offenders who, like Dr. Vo, land in Zone A or
11
12   B of the sentencing table. See USSG § 5C1.1, commentary, application note 4.
13
           Here, probation is appropriate, as all parties agree.
14
                                     Terms of Probation
15
16         Dr. Vo will address the PSR’s recommended terms below, but here are the key
17
     terms he recommends along with the government:
18
        1. Three years of probation.
19
20      2. 100 hours of community service.
21
        3. A fine of $201,354.
22
           The parties agree on a fine just over $200,000, double the amount his patients
23
24         paid for their treatments. This fine is more than 10 times higher than the
25
           high end of the fine table for offense level 9. USSG §5E1.2(c)(3). This amount
26
           is also far more than the actual profits, since the cost of the cosmetics was
27
28         approximately $40,000, and Dr. Vo’s practice received approximately
                                                  7
                                 DEFENDANT’S SENTENCING MEMORANDUM
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 1         $100,000 in payments from his patients. The gross profits, therefore, were

 2         around $60,000 (over 4 years), but that doesn’t account for overhead –
 3
           employee salaries, office expenses, etc. While impossible to pinpoint, the
 4
 5
           actual net profit to Dr. Vo personally was surely less than $10,000.

 6      4. Forfeiture of $100,767.
 7
           Dr. Vo will pay back the full amount his practice received from the patients.
 8
 9
           The government sought to identify every cosmetic patient but has received

10         responses from only a small number. The parties agree to set the matter for
11
           a final restitution hearing to allow time for any additional claims to trickle in.
12
           The parties anticipate the actual claims will involve a relatively small
13
14         percentage of the $100,000 forfeiture, and the remainder will go to the
15
           government.
16
           Dr. Vo has provided undersigned counsel with the full amount of the financial
17
18   penalties. Counsel will pay the fine immediately. The parties have agreed that any
19
     restitution payments will be credited against the forfeiture, and since the restitution
20
     will be determined later, counsel will pay the full amount of restitution and the
21
22   remaining amount of forfeiture immediately upon the conclusion of the restitution
23
     hearing.
24
           Dr. Vo has reviewed and accepts the terms of probation outlined in the PSR,
25
26   with the following comments and recommendations. Dr. Vo notes the “standard”
27
     terms of probation outlined in paragraph 134 of the PSR are not mandatory but fall
28
                                                  8
                                 DEFENDANT’S SENTENCING MEMORANDUM
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 1   entirely within the Court’s discretion. See United States v. Montoya, --- F.4th --- (9th

 2   Cir. September 13, 2023) (en banc) (“the district court retains full discretion over
 3
     the decision to impose [“standard” terms], subject only to the requirements of 18
 4
 5
     U.S.C. § 3583(d)(1)-(3), based on its individualized assessment of the defendant.”).3

 6   And like terms of supervised release, any term of probation must be reasonably
 7
     related to the goals of deterrence, protection of the public, and rehabilitation, and
 8
 9
     may not involve any greater deprivation of liberty than is reasonably necessary to

10   fulfill these goals. United States v. Napulou, 593 F.3d 1041 (9th Cir 2010).
11
             Under this rubric, some of the recommended terms are unnecessary. Dr. Vo
12
     therefore asks the Court for the following modifications:
13
14           1. Not to impose any travel restriction (proposed condition 3), or to limit
15
                travel to the United States.
16
             2. Not to impose the firearms-related restrictions (proposed condition 10).
17
18              While Dr. Vo does not maintain firearms, he has not been convicted of any
19
                felony and there is no basis to restrict his Second Amendment-protected
20
                activities.
21
22           3. Not to impose the third-party risk condition (proposed condition 12). Dr.
23
                Vo cannot conceive of a scenario in which a third-party notification would
24
                be required. Should one potentially come up, a better approach would be
25
26
27   3 Although Montoya addressed conditions of supervised release, its reasoning
28   applies to all non-mandatory terms of probation under 18 U.S.C. § 3563.

                                                   9
                                  DEFENDANT’S SENTENCING MEMORANDUM
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 1            for Probation to meet and confer with Dr. Vo and his counsel, and if the

 2            parties are not able to agree, the Court could be asked to decide if it is
 3
              necessary.
 4
 5
           Turning to the proposed “special” conditions of probation in paragraph 135,

 6   Dr. Vo notes the following:
 7
           1. A search condition is not necessary here (proposed special condition 1). He
 8
 9
              acknowledges the proposal is cabined by a reasonable suspicion

10            requirement, which provides some comfort, but here a search condition is
11
              unnecessary.
12
           2. Dr. Vo has no objection to the community service requirement proposed in
13
14            special condition 2.
15
           3. Dr. Vo will pay his financial obligations immediately.        He therefore
16
              suggests there is no need for him to provide complete disclosure of his
17
18            personal and business financial records (proposed special condition 3).
19
              What would be the purpose?
20
           4. There is no compelling need to place Dr. Vo on location monitoring
21
22            (proposed special condition 4). The government is not asking for it. Dr. Vo
23
              has been exposed to significant press coverage, has suffered the shame and
24
              public humiliation as a medical doctor whose businesses have been raided
25
26            and whose guilty plea was publicized; he has been cut off from numerous
27
              insurance carriers, and is subject to discipline with the California Medical
28
                                                   10
                                   DEFENDANT’S SENTENCING MEMORANDUM
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 1           Board. He will pay a large fine and be on federal probation for three years.

 2           That is substantial punishment, and more than sufficient to comply with
 3
             the 3553(a) factors. Further, it is unwieldy for a doctor to wear a GPS
 4
 5
             bracelet. If noted, it could hamper the sacred doctor-patient relationship,

 6           not to mention the potential for interference with sensitive medical
 7
             equipment. It’s simply not needed or appropriate here.
 8
 9
                                        Conclusion

10        Dr. Vo once again apologizes to the Court for his transgression. He thanks
11
     the Court for its time and consideration, and urges it to honor the parties’
12
     recommendation for a probationary sentence.
13
14                                                    Respectfully submitted,
15
     Dated: October 18, 2023                          s/ Jeremy Warren
16                                                    Jeremy Warren
17
                                                      s/ Michael Aguirre
18                                                    Michael Aguirre
19
20
21
22
23
24
25
26
27
28
                                               11
                               DEFENDANT’S SENTENCING MEMORANDUM
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       Attachment - Support Letters

   Name                        Position
   1. Angie Pena               El Centro School Trustee
   2. Margaret Sauza           Executive Director, Sure Helpline
   3. Joab Gonzalez            Manager, San Diego Regional Center
   4. Sonia Carter             El Centro City Council Member
   5. Sylvia Chavez            Calipatria City Council Member/Mayor
   6. John Cabrera             AmeriCorps Project Specialist
   7. Gonzalo Gerardo          Chief of Police, City of Calexico (Ret.)
   8. Eduardo Singh            Palo Verde School District
   9. Pastor Chris Nunn        Christ Community Church
   10. Chuck Fisher            Former El Centro School Trustee
   11. John Strong             Medical Doctor
   12. Masoud Afshar           Medical Doctor
   13. Sylvia Bernal           Health District Trustee
   14. Gloria Romo             Calexico City Council Member
   15. Rosalind Servin         Brawley Feed the Need (NGO)
   16. Maribel Padilla         Brown Bag Coalition (NGO)
   17. Raymond Gonzalez        American Legion Commander
   18. Eduardo Garcia          California State Assembly Member
   19. Tony Gallegos           American Citizen Club
   20. Eric Reyes              Los Amigos de la Comunidad
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   S/23/2023



   To whom It may concern,




   I currently hold a position as El Centro Elementary School District board of Trustee. I am writing this
   letter to show my support for Or. TIen Vo I Vo Medical, a community leader who has demonstrated
   exceptional commitment and dedication In helping the community during the pandemic and to present
   time.

  During the pandemic, Dr. Vo provided food for lndlvlduals who tested positive for Covld and couldn't
  leave their homes "Meals to Heal". He was an Instrumental key In providing vaccines and Covld testing
  to field workers at 2 am at the calexlco border, provided Covid vaccinesfor Individuals with
  developmental disabllltles when nobody in our county would step up to the plate, and made home visits
  for senior citizens when they had Covld and didn't have transportation for medical attention. Dr. Vo also
  organized massivevaccine events In rural areas and has provided vaccinesto the homeless population In
  collaboration with churches In our county. He has goneaboveand beyond In ensurins that everyonehas
  accessto healthcare services,regardlessof their background or circumstances.

  Or. Vo has been at the forefront of numerous efforts aimed at providing critical healthcare services to
  the community. He also has and will continue to conduct physicalsfor students in all school districts who
  have no insurance and Is working closely with the school districts to provide school Immunization so
  students are able to start school on time. This has open opportunities for students to participate in
  sports like never before. His efforts have been instrumental In ensuring that vulnerable populations
  have accessto the healthcare servicesthey need to stay healthy and safe such as a small rural town
  called Palo Verde, Blythe.

  Dr. Vo's leadership and tireless efforts have been a source of inspiration for the community and have
  Impacted all School districts in Imperial County and Palo Verde. I have no doubt that he will continue to
  make a positive Impact on the lives of those around him.




rt:\~
~s~efta
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                                             654 W Main St.
                                          El Centro Ca, 92243
                                   Administrative Line (760) 352-7878
                Rape Crisis Line: (760) 352-7273 -- 24-Hour Crisis Line (760) 352-7873
                                        Toll Free (877) 780-7776
                                    www.surehelplinecrisiscenter.org


 5/22/2023




 To whom It mayconcern,



 I am writing this letter in supportfor Dr. TienVo, Vo Medical,a healthcarepracticethat hasbeenservin1
 the communitywith dedicationand compassionfor manyyears.I currently hold the positionof
 ExecutiveDirectorfor SureHelpLine.

 Dr. Vo hasbeena leaderIn the healthcareindustry, providingexceptionalmedicalcare to his patients
 and servingasan inspirationto his colleagues.He hasbeenrecognizedfor hiswork by organizations
 suchasSureHelpLine,which honoredhim at their 2022AnnualGalaevent.Themoney raisedfrom this
 event goesto benefitvictimsof domesticand sexualviolence.Dr. Vo'sefforts durin1the pandemichave
 beenparticularlynoteworthy,and histirelessdedicationto his patientsand the communityhavebeen
 an Inspirationto usall.

 Thisyear,Or.Vo'swife,VenusNguyen,has been nominatedto receivea rec01nltlonawardfor the
 continuingwork that Dr. Vo and Venushavebeen doingto servethe community.Dr. Vo'sselflessness
 and hard work havebeena sourceof inspirationto all of us,and I have no doubtthat he will continueto
 makea positiveImpacton the livesof those around him.

 I wholeheartedlysupportOr.Vo and Vo Medical.Hisleadershipand commitmentto the community
 makehim an exceptionalrole model,and I am confidentthat he wlll continueto makea differenceIn
 the livesof those he serves.
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May 22, 2023



To whom It may concern,



My nameis JoabGonzalezand I'm currently employedas a Managerof Client Servicesat SanDiego
RegionalCenterImperialValleyOffice. May this letter serveas testimonyof the support this community
has receivedfrom Dr. Vo, Vo Neighborhood,and Vo Clinicsaround Imperial County. Dr. Vo hasdone
incrediblework to keepour communitiessafeespeciallyduring the COVID19 Pandemic.Or.Vo had
testing,vaccination,and treatment of COVID19 without regardto hissafety,safety of his team, and
safetyof volunteers. ImperialValleygot hit very hard with COVID19 and thanksto bravemen and
women like Or.Vo, we now thrive and are flourishing.

I work for an agencythat servesdevelopmentallydisabledIndividualof all levels. When SanDiego
RegionalCenter wasstruggllngto securetesting, and vaccinationduring the worst of the pandemic,Dr.
Vo quickly organizedspecialclinicsand hundredsof individualsand their families got tested and or
vaccinatedto keepthem safe.
I'm well aware that Dr. Vo hasvaccinationfor children,youth, adults,farm workers,and offers medical
servicesto very vulnerableIndividualsin our communities. I've lived and worked In Imperial Countymy
entire life and while I haveseenvery activeand hard-workingdoctors,however,none of them come
evencloseto what I havewitnesswith Dr. Vo. Or.Vo servesIndividualsIn all four cornersof Imperial
Countyincludingcommunitiesthat are rural and with little or no resources.HisapproachIs not, come
by seeme in my office. Hisapproachhasbeen, let's assemblea team and go servethem in their
communitiesas manv may havelimited or no transportation.



Respectfullyand sincerely,




Jc,a
I
Case 3:23-cr-01700-AHG Document 12 Filed 10/18/23 PageID.89 Page 16 of 34




Sonia Carter
324 San Diego Ave.
El Centro Ca. 92243
442-271-S806
Soniacarter77froyahoo.com
May 19, 2023


To whom this may concern,
I am writing this letter on behalf of Dr. Vo (Superman). I have had the honor of seeing his work
performance firsthand, as well as working side by side with him. Doctors save lives, but their
importance goes far beyond that. Doctors also make a difference by what people see them
accomplish. I have witnessed how hard working and dedicated Dr. Vo is. I spearheaded a health
fair conducted by Social Justice to help the underserved community. With no hesitation Dr. Vo
and his team came out and helped so many families of all nationalities. He is a hero in my eyes
and the communities. Dr. Vo has an ethical commitment to the Imperial Valley in which he lives
and works.
The importance of having a nonstop doctor in our community is needed. Dr. Vo is connected to
the community, and he has goals to improve it, and make it a better place for all of us who live in
the Imperial Valley. My name is Sonia Carter and I currently serve on the El Centro City Council.
Please, do not hesitate to contact me if you have questions.
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May 22, 2023




RE:    Letter of Support

To Whom It May Concern,

Myname is Sylvia R. Chavez and I currently serve as Mayor Pro Tern for the City of
Calipatria.

I would like to extend this letter of support to Dr. Tien Vo M.D.
In March of 2020 when the first coronavirus related activity restrictions were issued, a
quarantine order required individuals exposed to stay at home. As the coronavirus cases
increased and limited vaccines were not yet made available to the Imperial County, Dr. Vo
and his staff took the initiative to slow down the spread by creating the "Meals To Heal"
program. I reached out to Dr. Vo to volunteer for this program. Our mission was to stop the
spread of covid-19 in our Imperial County/Imperial Valley. Meals to Heal delivered daily
dinner meals to our covid-19 families seven days a week until December of 2021.
In addition to this selfless program, Dr. Vo and his dedicated staff have served and
delivered hundreds of meals to our Calipatria senior citiizens during the holidays, ongoing
covid-19 vaccines and health checks to our Calipatria residents, ongoing covid-19 testing to
our school staff and ongoing sport physicals to our Calipatria High School Athletes.
The services he provides and continues to provide to our underserved Calipatria
community are clearly invaluable.


Please accept this letter of support on my behalf. Should you need any more information, I
may be reached at (760) 550-56 75 or via email at sylviaramona@hotmail.com



Sincerely,



~~
SylviaR. CJ-.av~
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To whom It my concern



This letter of support If for Dr.Vo,



I've had the privilege of witnessingall the great and amazingwork Dr.Vo hasdone for our
community for the last severalyears.I am forever grateful for the leadershiphe providedduring
uncertain times during {he pandemic.

 It's been a great benefit havingDr.Vo in our ImperialValley,he wasvery proactive with his
outreach team and our AmeriCorpsprogram to provide support to Imperial County.I saw
firsthand how dedicated Or.Vo was and has been to test and providing preventativecare.

My name is JohnCabrera,I currently serve as an AmerlCorpsProject Specialistfor Imperial
County Office of Education.
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  Gonzalo Gerardo (Hon. Ret. Police Chief)
  671 Mc Carran CT W
  Imperial, r.A 92251

  May 22, 2023

  Re: Dr. Tien Vo



  To: Assistant United States Attorney

  I have known Or. Tien Vo for a little over four years now. I know that Dr. Vo Is currently
  going through some legal matters. I saw Dr. Vo's work firsthand before the COVID-19
  Pandemic. He beganhis practice in Calexico while I was the Chief of Police and saw how
  he helped our low-Income community with healthcare.

  During the pandemic, I witnessed DR. Vo make home visits to the senior citizens at all of
  our senior housing centers. He would go out of his way after hours to treat people who
  were very sick and could not 10 to his clinics. Dr. Vo also provided personal protective
  equipment to the police and fire departments when the California Office of Emer1ency
  Services and FEMA's shipments did not arrive on time. He also partnered with our local
  City and County Health Officials and ran a successful Covld testing and Inoculation drive-
  up at the Calexico 10 theaters parking lot. I understand he has treated over 80,000
  patients from Imperial County and Mexicali, BajaCalifornia, Mexico, and still sees many
  of them.

  Dr. Vo continues to envision a way to assist our Law Enforcement and Imperial County
  Mental Health with ways to provide medical clearances and testing for prisoners and
  patients entering their facilities.

  It is my sincere hope that you consider my letter when deciding what decision you are
  going to make in his case. Dr. Vo has a lot to offer our low-income and often for1otten
  community.

  If you have any further questions, please do not hesitate to call me at (760) 455-9778.




  Sincerely,

  ~.~~
  ·Gonzalo Gerardo, Honorable Retired Police Chief
       Case 3:23-cr-01700-AHG Document 12 Filed 10/18/23 PageID.93 Page 20 of 34

                          PALOVERDE                                                           Board of Edaalfon
                      Unified School District                                                 Diana EaquibelMcndtz
                                                                                              MuthaClwarez
                    ''Improvinglearning ... Together"                                         AlfonsoHcmaadc:z
                                                                                              JameyMullion
                                                                                              Stq,banieRomero
825 N. Lovelda Blvd., Blythe CaUfomla 9222S                                                   Tr11CieKem
Telephone(760)922-4164                                                                        Superintmdent
Fu (760) 922-5941


                                                                                    May 31, 2023
        To Whom It May Concern:

        It is with exceptional pleasure and ease that I write this letter of support for Dr. Tien Vo. Over
        the last three years, Dr. Vo and the Palo Verde Unified School District have partnered together in
        providing mandated health services for the students and community of Blythe. Dr. Vo has
        focused primarily on immunizations (shots) needed before starting pre-kindergarten and
        immunizations required to enter 7th grade with health physicals.

       California law requires that all students attending public or private school be vaccinated against
       certain infectious diseases to keep themselves and their classmates safe. The school must have a
       copy of each student•s vaccination record on file. The best place to receive vaccinations is
       typically at your local doctor's office. The absences of health care providers in the community
       prohibit our students and community to obtain vaccines at a local office. It has been necessary
       for the Palo Verde Unified School District to reach out to our adjacent county and Dr. Vo
       Neighborhood for free vaccination clinics held at our District office to support the health needs
       of our students. Through this partnership, the Palo Verde Unified School has been able to
       vaccinate 98% of the students currently attending school and has been able to increase the
       amount of health physicals required to attend school and/or participate in sports programs. Dr.
       Vo's generosity and servant•s heart for the students and community of Blythe have drastically
       improved the health services of many families.

       Leading staff, students and the community through these times requires confidence, strength of
       character, and commitment. Dr. Vo has all the aforementioned characteristics to help
       organization like the Palo Verde Unified School District to meet all the compliance requirements
       by providing all the necessary vaccines and health physicals to help students stay in school. Dr.
       Vo goes the extra mile by his total commitment to the district by continuing his partnership over
       a three year period that assures full compliance with state and federal regulations.

       The Palo Verde Unified School District without reservation supports Dr. Vo and his character
       above all else. This severely medically under-served community would suffer without his
       influence and mandated health services. Should you have any further questions regarding Dr.
       Tien Vo, please do not hesitate to contact me at (760) 922-4164.



       sm~/--//
       Edward Singh, M.A. School Psychologist
       Director of Special Services
       Palo Verde Unified School District
       (760) 922-4164
       ~ward.singb~sd.us
Case 3:23-cr-01700-AHG Document 12 Filed 10/18/23 PageID.94 Page 21 of 34



 tj       CHRIST

      r   COMMUNITY
          CHURCH



 To Whom It May Concern:

 Greetings!I am writing this letter of support on behalf of Dr.Tein Vo. Overthe last five years,
 Dr. Vo and ChristCommunityChurchhavehad the blessingof partneringtogether in
 community outreach and engagement.I have witnessedDr. Vo's generosityand servant'sheart
 for the people of the Imperial Valleyfirst-hand.

Or. Vo hasspent countlesshours respondingto the COVID-19pandemic.When manyin his field
were still processingthe risksand severityof the Infection, Or. Vo was makingarrangementsfor
his children to live with family so that he and his wife, Venus,could aid the sick.Dr. Vo wasthe
first to respondwith masstesting sitesIn the region. The way he and his staff mobilizedto tend
to the sick Is to be commended.I shudderto think of what the conditionswould havebeenlike
In our grosslymedicallyunderservedcommunity had Or.Vo not beenso readilycapableand
willing to serve.

ChristCommunityChurchwas prlvllegedto operate alongsideOr. Vo and his staff at the height
of the pandemic.Someof our membershelped to processthe hundreds,If not thousands,of
patients dally seekingtest results.Additionally,Dr. Vo hadthe vision of deliveringmealsto
COVID-positivepatients,thus limiting their need to leavetheir homesand risk spreadingthe
Infection. Our churchwas blessedto be able to prepare these mealsfor Or.Vo and his staff to
hand deliver to patients.

Asidefrom Or. Vo's willlngnessto work alongsidethe falth•basedcommunity,I am also keenly
awareof Dr. Vo's passionfor servingother underprivilegedsectorsof our county. For example,
he hasoften traveled to provide healthcareclinicsto surroundingareas,includingNIiand,The
Slabs,and the tribal communities.Addltlonally, Dr. Vo hasprovidedfree student physicalsat
many local schools.

Or.Vo hasbeen an absolutegodsendto this community. He hasbeen a steadysourceof
generosity,encourasement,heating,and hope for many peopleduring their most difficult
times. The ImperialValley Is blessedto havea man of his abilities who hasalsodisplayeda
willingnessto serve.Thisseverelymedicallyunder-servedcounty would certainlysuffer without
his Influenceand service.

Dr. Vo Is also my trusted family physician.Hisattentivenessand carefor my family during their
seasonsof sicknesshavegarneredmy admiration and respect.My family and I are personally
grateful for his businessand practice.

Overthe years,Or.Vo has becomea valuablepartner In ministry servicealonasldeChrist
CommunityChurch.I foresee evenmore opportunities for ChristCommunityChurchand Or.Vo
to partner together to servethe ImperialValleyIn the future.
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 Pleasefeel free to contact me with any questions.



 Serv~/4..-

 Chrls Nunn
 Senior Pastor,Christ Community Church of Imperial Valley
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                                               Chuck Fisher
                                         734 Desert Garden Drive
                                           El Centro, CA92243
                                        Chuckfisher68@yahoo.com

May 20, 2023



To Whom It May Concern:

My name Is Chuck Fisher. I am a retired school administrator and a former elementary school board
trustee. I have personally experienced the support Dr. Vo has shown our community.

During the Covid pandemic he organized a program to deliver meals to those without support and
homebound suffering from covid. Food was delivered from one end of Imperial Valley to the other.

Also, during the Covid pandemic he organized several Drive-thru clinics to provide vaccines and booster
shots. I remember one clinic where we inoculated almost 800 individuals.

Beside the vaccine clinics he also implemented Covid 19 testing sites to support the community.

Dr. Vo has supported several school districts in the area by holding clinic to inoculate students to meet
the callfornia state requirement. Additionally, he has offered his services to travel to the school district
to provide health physicalsfor athletfc population.

At Thanksgiving time over 2,000 meals were delivered to the under-served in the Imperial Valley.

I can't count the number of times Dr. Vo has pitched the first ball in a Little Leaguegame where he has
furnished uniforms or otherwise supponed the teams. He does the same for our soccer groups.

He has supported veterans with recognition and meals and just this week he sponsored meals at a senior
citizen health fair.

Our community is grateful of the many ways Dr. Vo and his staff have supported us.
And we are better for it.



Sincerely,




Chuck Fisher
Support
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 May 22, 2023

 Letter of Support for Tien Vo, M.O.


 I haveknown Dr.Vo since2012,when hecoveredfor me brieflywhlle I wason vacation,and later when
 I waslooklngto sell my practicebeforegoingto south America.I hearda lot of glowingcommentsfrom
 hospitalstaff and all thouahthe would do a greatjob of takingoverthe practice.Other doctorswere
 offeringto buythe practicebut I decidedto giveIt to him InsteadsinceI thought he wasthe bestof the
 younger•breed" of doctorsIn the Valley.I haveneverregrettedIt. I alsoneverdreamedI would end up
 workingalongsidehimJusta few yearslater. HeIs more like mysecondsonthan my boss.
 or. Vo Is a classicAmericansuccessstory.Hewasa refugeeto the StatesIn his mid-teensbut had the
 driveto work on his £ngllshand other studiesto completemedicalschoolIn his 20's.He Isthe most
 Innovativeand forwardthinkingdoctor I haveevermet or evenheardof (In my 44 yearsof practice).He
 Isalsoone of the mosthelpful and ethicaldoctorsI haveknown.He Isalwaystrying to makea
 difference,evenwhenIt Isgivingmoneyfor lodginga homelesspatient In the middleof summerand It
 Is110de1reesoutside.
 Theera ofCovld-19revealedOr.Voas a warrior for protectingthe healthof the community.Hewas
 almostprescientIn seeingwhat wascomingat this country In the form of a contagion.Whlle other
 physicians(lncludlncmyself)were ImmobilizedandJustwaitingto be told what to do, he wasthe risk-
 takingtrail blazer.Hefiguredout how to get the testingmaterialsandequipmentthat he hadto
 purchasewhen most wereclueless.Heset up masstestln1sitesIn ElCentro,Cllextco,and a smallerone
 In Brawl~. Overa thousandpatientsdallywere commonlytestedbetweenthesesites.He had a team
 reportfttgth~ resultsto patientsthat workedlate Into the nightand he lndfvlduallytreated probably
 morepatientsthan anydoctor fn the entire country.Hepurchaseda van to be ableto go out for testlns
 and laterfor vaccinationsat the siteswherefarm workerswouldgatherfor a busto the fieldsat 2 AM.
 Hedroveto variouslocalschoolsfor vaccinationof numerousstudentsand evenout of the countyto
 the IsolatedRiversideCountycommunityof Blytheto do moreat their schools.Heand his wife started
 Vo NelshborhoodMedicalCllnlc,and morethan a hundredvolunteerssteppedup to participateIn
 feedl"8 familiesstuckat homewith Covld-19and in massvaccinationsat the localbowlingalleyparking
 lot. Oneweekapproximately14,000werevaccinatedandthis would not havebeenposslblewithout the
 hl&hesteemthat he Is held In by manyvolunteers,Includingmy wife.
 Dr.Vo continuesto reachout to the underservedof ImperialCountyand recentlyalsoto Riverside
 County.A new,largerclinicIn BrawleyIs goingto be primarilyfor the leastservedpatientsIn the north
 end of ImperialCountyandwill providea facilitythat will encouragemorespecialiststo carefor this
 population.Freecllnla. rnvoMnga few volunteers,havebeendonewith farm workersand familiesIn
 the Meccaor Thermalareas(RiversideCounty)after closlngof a nearbydlnlc. Hemakesmanyhouse
 calls,evenIn the heatof summer,seeinghomeboundpatientsIn severallocalcitiesthat no other
 physicianwillsee.
 DrVo Issettingup the new clinic In ElCentrowith Improvedcapabllltyof dealingwith anotherepidemic
 besidesbetnsableto providecllntcalareasfor specialistsand the necessaryloglstlcalsupportto enable
 better quality of carefor our la,ae populatlonbase.HeIs hlshlyrespectedby manyof the local
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 physiciansbut there Isanimosityfrom somequartersthat seemsto be basedon jealousyover his
 success.Hehasa team of providersthat get alongwell eventhough In severallocations- includingIndio
 now (RiversideCounty).He Isa sreat team leaderandhasencourasedmanyemployeesto advanceIn
 their careerIn the health sector.We havejolntly helpedtrain manynursepractitionersand some
 physicianassistantsfor this areaandevenother areasof callfornla.
 Dr.Vo askedmewhy he Is Importantto the community.Most providersare lnterchanseablewith
 similarlytrainedproviders.OneexperiencedFPIsalmostthe sameas anotherexperiencedFP.One
 InexperiencedIM doc Is almostthe sameas another InexperiencedIM doc. Dr.Vo is not like anyoneI
 haveevenheardof. He literally doesnot need muchsleepand canout work any doc.HeIs more
 creativeaboutsolutionsthan anyoneI haveevermet. I Joklnslyrefer to him asSupermanand I am an
 agingBatman(who still hasa lot of energybut a fractionof his).It would take a teamto replacehim and
 then It probablywould fall sincethe teamwould, of course,argue.



 JohnM. Strons,M.O.,FamilyPhysician

  CA-685954
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   To whomIt mayconcern,


   I am writing this letter to giveyou my honest9plnion resardingDr.Vo.
   I am a bQard-certifiedphysicianpracticingnephrology(l<ldneydisease)In the Valleyfor more
  thJtl ten year5'I had the opportuniWto get to know Dr. Vo very we.IIwl)ile we were workins
  closelyin the hospitalsand in his·p,rivatepra(tice. I found him a very knowtedgeabfephysician,
  responsibleaiTdhardworking.He·caresabout his patientsand treats.themto the highest
  ·standards.I wasthe Chief of MedicineDepartmentat ECRMC        from 2016-2020,I didnot receive
  any singlecomplaintfrom patients or hospitalstaff aboutDr. Vo dutlng this time, He hasbeen
  very professional . and respectfultoward other colleagues.               .
  .Sincehe movedto privatepractice#he hashelpedthousan.dsof patients to havea better life.
  He h~sexpal)dedhis practl~ duting the las,.few yearswith hard work and provtdrngexcellent
  carefor the patients.He haselevatedthe quality of care In the Vctllevand thousandsof the
  patients dep·end.onhisserviceto sta.yhealthy.

  Dr. Vo and his wife ,re.known for their numerouscharitablewor~s in the ~ity.Theyhave
  changedlivesof numerousunderservedlndMduJlsto the better through their Jdndnessand
  generosity.Overthe yearsthey have-spenta l~rgeamountof t~eir time a.ndmoneyto help
  people in need, nb other physicianin town comesevehcloseto them. Dr.Vo also hasbeenvery
  helpful and supportiveof tuscolleagues.I know firsthandthat he hashelpedseveralother
  doctorswho were In flnanclaldifficulty without any expectation.

  In a personallev~lI fo_undOr. Vo extremelyhonest andtrustworthy individual.He Is the friend
  you can count on. Heis a fa~lly man with hlgh morals. Hehasmy outmost respect.


  Wlth regards,   j_
       ~~ ~ ttf•(),
  MasootlAfsharMD.      or;/((   I :i-f
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                              CHARACTER LETTER


  May 20, 2023


  To Whom It May Concern:
  I am pleased to write a character letter for Dr. Tien Vo. My name is Sylvia Bernal
  and I have persona11y known Dr. Vo for the last ten years. As my primary care
  physician, he has gone above and beyond to ca1·efor me. In the past ten years I
  have known him professionally and personally.
  Dr. Vo has outstanding moral values who cares deeply about his community.
  During the pandemic, he conducted home visits to his patients who were
  quarantined, myself included. He also provided meals during the pandemic. He is
  the only physician in my area who conducts home visits to his patients.
  I ama long-standing citizen who is very active in her community and Dr. Vo has
  often contributed to local causes.
  If you would likemore information or would like to speak to me personally, I can
  be reached at (760) 427-3976.
  Respectfully,

  ~~~
  Sylvia Bernal
  Heffernan Memorial Healthcare District Board of Directors Member
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Gloria Guadalupe Romo
Cityof calexico,MayorProTem
                                                                        May20,2O23




TO WHOMIT MAYCONCERN:




As an elected official of the City of Calexico, the health and well-being of our

community is extremely important to me. The community of the City of Calexico

has enjoyed the support and kind dedication of Dr. Tien Vo through his Clinic Vo

Medical Center. Or. Vo has been very important to us because he has provided
accessible medical care to our residents, especially to those who work In the

fields and low-income families.
During the pandemic, Dr. Vo was very dedicated and sensitive to the needs of

the population, because Dr. Vo was at the forefront evaluating thousands of
people and distributing vaccines even to people in rural areas.
Dr. Vo also Invests very generously in our youth, sports, and other public

community events.
I fully support and trust him when it comes to providing quality healthcare
services to our community.


Respectfully,


~ ,t~:s
Cell: (760) 592•3503                                      Email:romogloriag@lyahoo.com
Case 3:23-cr-01700-AHG Document 12 Filed 10/18/23 PageID.102 Page 29 of 34




To whom It may concern,



My name is RosalindServin Founder/CEOof BrawleyFeedthe Need, Inca 501(c)(3)non-profit organization
that helps those in need 5 daysa week in the city of Brawley.I met Dr.Vo a couple of years ago and have
partnered with him In a few ways. One beingwhen together we served 1,200individuals on the North end
of Imperial County for ThanksgivingDay in 2022. Dr.VO is very community driven and a definite asset to
our entire county.

Dr. Vo and his team also provide a meal for SOevery Wednesdayof every month to my organization in
which we use to feed the community.

I consider Dr.Vo a trustworthy, kindhearted, community minded person.

I believed in what he does and I support his efforts to better our Imperial County.



Sincerely,

~
RosalindServin
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                             Brown Bag Coalition
                                P.O. Box 1881
                 .....,__ El Centro CA 92244-1881 -~
                                760-997-2140



  May 22, 2023

  To Whom It May Concern



  Brown Bag Coalition is a non-profit organization that serves the
  homeless population in Imperial County but mainly in Calexico.

  We've had the pleasure of collaborating with Dr. Vo and his medical
  center for several years now. Dr. Vo is one of our feeders who
  sponsors and delivers homeless dinner to Calexico's homeless
  population at our feeding location once a month. He has supported us
  by letting us use a large room in his clinic for our Christmas event and
  has sponsored dinner for our Thanksgiving event as well.

  Dr. Vo's generosity is definitely an asset to our community, the help
  afforded to our organization is invaluable and much appreciated.

  If you should have any questions you can reach me at 760-997-2140.


  Sincerely,



  Maribel Padilla
  Co-Founder/President




                  Making a difference ONE brown bag at a time
                         501(c}(3) Nc,n.Profit OrganizationID# XX-XXXXXXX
                Pleasesavs "ihisletterfor tax purposes aclmowledgln(Jthat you have
                ff1C8lvedno goods or serviCeSin exchangefor your charitablecontributions.
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                                                                                   May 21, 2023
To whom it may concern:
       This letter of support is on own my behalf, Raymond A. Gonzalez, Chairman of the
Imperial County VeteransAdvisory Council, Outgoing American Legion Post 60 Commander,
Veterans of Foreign Wars Post 9305 officer, and community leader.
        Over the past several years, I have gotten to know Dr. Tien 'Ian Vo of Vo Medical Center.
I've had the pleasure of working alongside Dr. Voand his teamto help the community of
Imperial Valley wherever there is a need. One of my first experiences working with Dr. Vo was
volunteering to deliver meals to covid-19 positive patients under VoNeighborhood Medical
Clinic in 2020. I believe we had a significantly positive impact on these patients. Another
example of Dr. Vo's willingness to step up in a time of need was when the town of Niland, CA
experienced a fire that destroyed 40+ homes (also in 2020). Dr. Vo gathered volunteers and paid
to have these victims of tragedy fed.
       Since then, Dr. Vo has continued to give back in several ways, including but not limited
to sponsoring little league, supporting veterans (both monetary and through recognition),
providing meals to the homeless, and providing free medical services for underserved
populations. There are countless acts of generosity and selflessness that Dr. Vo,Vo Medical
Center, and Vo Neighborhood Medical Clinic have made for the benefit of the people of this
community. He continues to prove to be a vital asset for the people. We are blessed and lucky to
have his leadership and overall support for the needs of Imperial County.


Respectfully,


r/L.~-x&
Chairman,Imperial County J-eteransAdvisory Council
760-587-6900 rgon760@yahoo.com




                                  •
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      STATECAPITOL                                                                                      COMMITTEES
     P.O.BOX 942849                                                                                     CHAIR UTILITIES AND ENERGY
 SACRAMENTO,CA 94249•0006                                                                              BUDGET
        (916) 319·2036                                                                                 COMMUNICATIONSANO CONVEYANCE
      FAX (916)319·2136                                                                                GOVERNMENTALORGANIZATION
                                                                                                       HUMANSERVICES
       DISTRICT OFFICE
48220JACKSONSTREET.SUITE A3
    COACHELLA. CA 92236
       (760) 347-2360
     FAX (780) 347•5704




        May 25, 2023


        To Whom It May Concern:

        As the Assemblymember representing the 36th California State Assembly District, I
        am writing in support of Dr. nen Vo. Over the years, our office has fostered a
        strong partnership with Dr. Vo and his team. We have witnessed his generosfty
        and selflessnessto the residents of our district.

        Dr. Vo and his wife, Venus, did not hesitate to be at the frontlines of the COVID-
        19 pandemic. He spearheaded the region's pandemic response by securing
        mass testing sites in the area. Dr. Vo and his staff continuously mobilize to
        provide necessary healthcare services to some of our most underserved
        populations.

        Dr. Vo is a trusted medical provider and valuable partner and I look forward to a
        continued partnership of serving the 36th Assembly District. Should you have any
        questions regarding my support, do not hesitate to contact me at my Coachella
        District Office at (760) 347-2360.

        Sincerely,

        ~;.-..........l.
        Eduardo Garcia
                                           -6-----
        Assemblymember, 36 AD




                          IMPERIALDISTIIICTOFFICEt 1101AIRPORTROAD,SUITEO • IMPERIAL.CA 922SI • !780)3SS-8656• FAX (760) 355-8856
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To Whom it may Concern,

    As the Executive Director of Los Amigos de la Comunidad, Inc, a Community Based
Organization serving the underserved and most vulnerable communities of the Imperial Valley
and surrounding region I enter this correspondence, if not testimonial, on behalf of Or Tien Tan
Vo for consideration. Dr Vo has been from the inception of his practice in our underserved
health disparity region an exception to the norms of our other medical agencies and practices
public and private. His practice has given accessto the most vulnerable and underserved
communities with complete professionalism and the proper care and attention the others have
not afforded these groups of community members as needed for various reasons, including lack
of competition, lack of resources, lack of proper personnel and at times the lack of the will to
truly be servants of the community and most needy.
    Dr Vo has transcended the Dr role to the role of the go to health service for our most needy
and underserved including being the only Dr to do house visits for the homebound and mobility
limited sections of our community who were left alone to deal with their medical issues. He has
been a mobile clinic on wheels and setting up clinics in the least visited areas of our community
to ensure they have access to services, checkups and ensuring follow-up service. Dr Vo's
medical operation is cross regional, cross cultural and competent, compassionate, and
accessible and is seen as the beacon and gold standard of medical services for the underserved
and most vulnerable. As an organization dedicated to the needs of the underserved Dr Vo has
set the standard high for us to emulate and we cherish our working relationship with his
services and operation.
    Los Amigos de la Comunidad, Inc worked collaboratively with Dr Vo Medical operation during
the pandemic and witnessed firsthand the dedication and energy to serve the underserved from
Dr Vo and team. Hosting COVIDTesting then mass clinics at all hours of the day and night,
including early am clinics for farmworkers and homeless where only at that time would they
receive the services. We, as an organization, actively asked other medical services to help the
farmworker and homeless population in their areas of occupancy at the most obscure hours and
places and only Dr Vo Medical Services and operations heard our call and come to help the
most vulnerable and underserved. Or Vo is integral to our community in many ways as a
generous benefactor to many causes of the underserved and we support Dr Vo in all endeavors
he and his team undertake knowing it will be a benefit for our community.

 Respectfully,

 ~ JIJ.~
 Eric Montoya Reyes/Executive Director
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                                        Bra,\-·lcv... .t\.mcrican Citizens
                                                            Club
                                                        P.O Box 529
                                                 Brawley. California 9222i'


 August 28, 2023

 U.S. Magistrate
 Judge Allison H. Goddard
 United States Courthouse
 221 W. Broadway
 San Diego, CA 92101

 Dear; Judge Goddard

 Subject: Dr. Tien Tan Vo, Case Number 23crl700

 The Brawley American Citizens' Club on behalf of its Board of Directors and membership are requesting
 leniency on behalf Dr. Tien Tan Vo, who was convicted for Accessory after the Fact to Entry of Goods by
 Means of Statement-Title 18 U.S.C. Section 542 and 3.
 We met Dr. Vo several years ago and was very impressed by all of his dedication to the Imperial Valley
 Community. He was the first doctor to come out prepared to test the community for covid while all the
 other doctors were not available to see patients. Imperial Valley had one of the highest rates for covid19
 in California. Dr. Vo saved our community by combatting Covid19. He came to our facility prepared with
 safety gowns, gloves and masks. While representatives from our Imperial County Board of Supervisor
 and Hospital Board Directors observed how he conducted his covid testing at our location. Our
 community lost a lot of loved ones during this pandemic but things would have been worse if it was not
 for Dr. Vo. He also did house calls, fed his patients who did not have any family members available. He
 helped the homeless and people with no insurance who needed assistants. He continues to sponsor the
 unprivileged children and families during Christmas and Mothers Day events. He gives free physicals to
 children and teenagers needing to join sports or in need of vaccinations. He has been an asset to our
 community. He has been one of the most hard working and caring Dr. we ever met in Imperial County.
 Dr. Vo is always giving back to the community, assisting and supporting the community during our local
 events.
 This is Dr. Vo first offense and he sincerely regrets his offense and will never repeat them. We believe in
 him and know him well and humbly request for lenient sentences. He is one of the best Doctors we have
 in our community. We feel very fortunate to have him in Imperial County as a Physician. Our community
 will be devastated without him, including his family. If you have any questions and would like more
 information contact me (760) 791-4328. Thank you for taking the time to read our letter.


 Sincerely,                   ())A,,,
                        I'.,,.,_
  ~ ?-~~
 Anthony P. Gal~s
 President
